

Matter of Arianna M. (Joshua M.) (2020 NY Slip Op 01783)





Matter of Arianna M. (Joshua M.)


2020 NY Slip Op 01783


Decided on March 13, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 13, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, LINDLEY, NEMOYER, AND TROUTMAN, JJ.


235 CAF 18-01899

[*1]IN THE MATTER OF ARIANNA M. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; JOSHUA M., RESPONDENT-APPELLANT. (APPEAL NO. 3.) 






WILLIAM D. BRODERICK, JR., ELMA, FOR RESPONDENT-APPELLANT.
REBECCA HOFFMAN, BUFFALO, FOR PETITIONER-RESPONDENT.
DAVID C. SCHOPP, THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (JANE I. YOON OF COUNSEL), ATTORNEY FOR THE CHILD.


	Appeal from an order of the Family Court, Erie County (Margaret O. Szczur, J.), entered September 24, 2018 in a proceeding pursuant to Social Services Law § 384-b. The order, among other things, transferred the custody and guardianship of the subject child to petitioner. 
It is hereby ORDERED that said appeal is unanimously dismissed except insofar as respondent challenges the finding of permanent neglect, and the order is affirmed without costs.
Same memorandum as in Matter of Jason M. (Joshua M.) ([appeal No. 2] — AD3d — [Mar. 13, 2020] [4th Dept 2020]).
Entered: March 13, 2020
Mark W. Bennett
Clerk of the Court








